       Case 3:18-cv-01094-WWE Document 28 Filed 03/07/19 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT

NAACP, ET AL.,                             :           No. 3:18-cv-01094-WWE
          Plaintiffs,                      :
                                           :
            v.                             :
                                           :
DENISE MERRILL, ET AL.,                    :
         Defendants.                       :           MARCH 7, 2019

                             NOTICE OF APPEAL

      Notice is hereby given that the Defendants in the above captioned matter,

Denise Merrill and Dannel P. Malloy, hereby appeal to the United States Court of

Appeals for the Second Circuit from the February 15, 2019, order of the district

court denying Defendants’ Eleventh Amendment immunity defense raised in their

motion to dismiss. See Doc. No. 27.



                                           Respectfully submitted,

                                           DEFENDANTS DENISE MERRIL
                                           AND DANNEL P. MALLOY

                                           WILLIAM TONG
                                           ATTORNEY GENERAL

                                       BY: /s/ Michael K. Skold
                                           Michael K. Skold (ct28407)
                                           Maura Murphy Osborne (ct19987)
                                           Assistant Attorneys General
                                           Office of the Attorney General
                                           55 Elm Street
                                           Hartford, CT 06106
                                           860-808-5020 (phone)
                                           860-808-5347 (fax)
                                           Michael.Skold@ct.gov
                                           Maura.MurphyOsborne@ct.gov

                                       1
       Case 3:18-cv-01094-WWE Document 28 Filed 03/07/19 Page 2 of 2



                          CERTIFICATE OF SERVICE

      I hereby certify that on March 7, 2019, a copy of the foregoing was

electronically filed. Notice of this filing will be sent by e-mail to all parties by

operation of the Court’s electronic filing system.   Parties may access this filing

through the Court’s system.




                                      /s/ Michael K. Skold
                                      Michael K. Skold
                                      Assistant Attorney General




                                         2
